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                              United States Bankruptcy Court
                                  District of Connecticut


In re:
         Tracy L. Biolo                                                                Case Number: 18-51033
         Jeffrey M. Biolo                                                               Chapter:       13
         Debtor*

Tracy L. Biolo and Jeffrey M. Biolo
Movant(s)
v.

Federal National Mortgage Assoc.
The Bank of NY Mellon c/o SLS
Roberta Napolitano, Trustee
Respondent(s)


         ORDER GRANTING MOTION TO DETERMINE SECURED STATUS OF CLAIM(S)

        The above-named Debtor filed a Motion to Determine Secured Status of Claim(s) dated January 9, 2019 (the
"Motion", ECF No. 23). After notice and a hearing, see 11 U.S.C. § 102(1), and in compliance with the Court's Contested
Matter Procedure, and there being no objection filed to the Motion and based on the Debtor's representations in the
Motion; it is hereby
       ORDERED: The fair market value of the Debtor's interest in real property known as 315 Kimberly Lane,
Watertown, CT, the Debtor's Primary Residence (the "Property"), as of August 8, 2018, is $390,000.00;
        ORDERED: Pursuant to 11 U.S.C. §§ 506(a) and 1322(b)(2),the extent to which the Debtor may, in his/her
Chapter 13 Plan (the "Plan"), treat each of the encumbrances against the property summarized in the Motion, as "secured"
or "unsecured" claims for purposes of 11 U.S.C. § 1325(a)(5) is as follows:
A. First encumbrance
         i. Name of encumbrance holder:   Federal National Mortgage Assoc.
         ii. Type of encumbrance:         Mortgage
         iii. Recording information:
                  a. Volume:              1500
                  b. Page:                139
                  c. City/Town            Watertown
         iv. Amount of encumbrance:        $506,111.86
                                          in principal
                                          as of the date of the Petition
                                          is hereby treated as secured

B. Second encumbrance
       i. Name of encumbrance holder:     The Bank of NY Mellon c/o SLS
       ii. Type of encumbrance:           Mortgage
       iii. Recording information:
                a. Volume:                1821
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              b. Page:                    315
              c. City/Town                Watertown
       iv. Amount of encumbrance:          $85,743.70
                                          in principal
                                          as of the date of the Petition
                                          is hereby treated as unsecured
       ; and it is further
        ORDERED: The holder of any lien referenced herein shall retain such lien to the extent permitted under
applicable non-bankruptcy law unless and until the Debtor(s) receive(s) a discharge under 11 U.S.C. § 1328.



                                                                                       BY THE COURT
Dated: March 15, 2019




United States Bankruptcy Court
District of Connecticut
915 Lafayette Boulevard
Bridgeport, CT 06604


*For the purposes of this order, "Debtor" means "Debtors" where applicable.
